EXHIBIT C

Case 3:21-cv-00619 Document 142-3 Filed 10/14/22 Page 1 of 3 PagelD #: 3054

 
Claimant
WISWELL;PETER
GRAF; ELIZABETH
DOWNEY; KENNETH
DOWNEY; KENNETH
ADKISON;DEBBIE
ADKISON;DEBBIE
CHRISTIAN; TIMOTHY
RODGERS;OLGA
MILLER;CAROLE
MUNN;BRENDA
GOTON; BEVERLY
DROUILLARD;MARY
ARTLEY;HEIDI
MONCRIEF;HENRY
ROZELL;KEVIN
JUSTICE;BARBARA JEAN
STUDEBAKER;LORRAINE
WELLS;ROBERTA
TANSEL;BRITTNEY
PERRYMAN;PAULA
PERRYMAN;PAULA
CASTLETON;LEE
TREVINO;MARIA

DRY; TED
JOHNSON;SHARON
PRICE; TABITHA
VARNER;WENDIE
CRUMB;DELORES
TAYLOR;ELEANORMCCAUL
EATMAN;NANCY
ALLEN;THERESA
HAMMOND;BRENDA
EDWARDS;MARIO
CANNATA;MARY
BELL; JOHN

BELL; JOHN
MARRUFO;ROSENDA
HARMON;GLORIA
AVENT;CAROLE
FISHER;DAVID
FRICKE; MARGARET
CROMER;SUSAN
BICKFORD; MICHAEL
ELLIOTT;ALICE
FRANKFORTHER;BARBARA
CHANCELLOR; BONNIE
ANTONE; JEROME
STJOHN;FLORENCE
WHEELER;BETTY
TIMON; DEBORA
HOLDINESS;BARBARA
MITCHELL;KAREN
PRICE;MARY
DUNIVENT;STELLA
WALKER;CLIFFORD
HUNT;DONNA
STAUBS; JOANNE
NEWCOMB;LINDA
RODRIGUEZ: JAMIE

Case 3:21-cv-00619

Event
Date
11/05/2017
01/11/2018
01/26/2018
01/26/2018
04/25/2018
04/25/2018
06/25/2018
06/26/2018
07/11/2018
07/23/2018
07/31/2018
08/14/2018
08/21/2018
09/07/2018
09/10/2018
09/22/2018
10/06/2017
01/04/2018
04/07/2018
10/12/2018
10/12/2018
10/28/2018
11/07/2018
11/20/2018
41/23/2018
01/26/2019
01/27/2019
01/30/2019
03/01/2019
03/12/2019
03/22/2019
04/12/2019
04/22/2019
04/22/2019
04/23/2019
04/23/2019
05/06/2019
05/16/2019
05/18/2019
06/14/2019
06/15/2019
06/19/2019
07/11/2019
07/24/2019
07/28/2019
08/08/2019
08/12/2019
09/03/2019
- 09/19/2019
09/20/2019
09/22/2019
10/19/2018
11/21/2018
04/02/2019
05/22/2019
01/30/2019
09/05/2019
10/03/2019
10/10/2019

Report
Date
05/21/2020
03/03/2020
02/02/2018
09/04/2019
02/04/2020
02/04/2020
08/03/2018
04/29/2020
09/27/2018
09/27/2018
08/20/2018
09/10/2018
09/10/2018
09/27/2018
09/27/2018
10/16/2018
09/07/2018
02/05/2018
04/29/2020
11/16/2018
11/16/2018
11/28/2018
03/22/2019
01/07/2019
01/07/2019
03/13/2019
42/20/2019
03/07/2019
03/22/2019
11/07/2019
04/09/2019
06/21/2019
06/21/2019
06/21/2019
04/25/2019
04/01/2021
12/24/2019
05/17/2019
06/21/2019
07/31/2019
08/06/2019
12/24/2019
08/06/2019
07/31/2019
07/31/2019
10/09/2019
11/07/2019
12/20/2019
10/25/2019
12/20/2019
01/16/2020
05/01/2019
04/29/2020
05/01/2019
04/29/2020
02/21/2019
04/22/2020
10/21/2019
12/20/2019

Net Incurred
4,022.50
21.50
358,000.00
70,000.00
246.50
.00

21.50
225.00
21.50
21.50
21.50
1,521.50
21.50
57.50
21.50
21.50
21.50
3,977.39
22.50
21.50

.00

21.50
21.50
21.50
21.50
1,521.50
5,035.40
21.50
3,146.50
21.50
21.50
13,771.50
17,500.00
321.50
27,818.96
6,436.31
21.50
21.50
21.50
21.50
35.40
21.50
8,988.90
3,021.50
21.50
4,052.55
21.50
21.50
35.40
35.40
44,065.97
8,669.42
22.50
35.40
22.50

.00

21.50
21.50
21.50

Document 142-3 Filed 10/14/22 Page 2 of 3 PagelD #: 3055

 
 

SHUFF;CHERYL
SMOTHERMAN; WENDY
SHARPE; KAREN
WATER; JANET
HAMLIN;SHELLY
KIRKLAND; STANLEY
CAMBLE; JOAN
MULLINEAUX;CHRISTINE
PARSONS; VIKKI
CULLEITON;CARMELA
LAUX;JAN

TODD; JOAN
FORD;RANDALL
MACK; JAMES

MARTE; WILLIAM
DETKOWSK!;ROSALEE
GILSON;ANITA
DAVIS;RUTH
VALLADAREZ;RAY
BAKER; WENDY
DICOSTANZO; JENNIFER
BEASLEY;SANDRA
PURDHAM;MADELON
ALLEN; JONELLE
KING;MARILYN BYARS
BRASCH; WILLIAM
DALTON;PATTY
LUKOWSKI;MARY
PERRY;TINA

GAUSE; IRENE
WATSON;ANNIE
JACKSON;CHARLOTTE
ROMAIN; KAREN
GRAVES,VICKIE
FANNING; BOBBY
REDMANN; BARRY
COLLINS;CHRISTINE
WETZEL;MARK
DYE;ROSS
GIX;MARGARET
YENDRICH;TRACEY

10/26/2019
11/14/2019
11/16/2019
11/22/2019
11/24/2019
11/30/2019
12/05/2019
12/19/2019
12/31/2019
01/04/2020
01/07/2020
01/07/2020
01/08/2020
01/11/2020
01/13/2020
01/14/2020
01/27/2020
02/07/2020
02/15/2020
03/07/2020
03/14/2020
03/15/2020
04/11/2020
04/28/2020
05/06/2020
05/24/2020
06/01/2020
06/11/2020
06/28/2020
06/29/2020
07/20/2020
07/31/2020
08/07/2020
08/09/2020
08/12/2020
08/15/2020
08/17/2020
02/21/2020
02/24/2020
06/21/2020
06/29/2020

12/18/2019
12/24/2019
12/20/2019
01/02/2020
01/15/2020
12/20/2019
01/07/2020
03/09/2020
01/02/2020
01/29/2020
01/10/2020
01/15/2020
01/15/2020
01/15/2020
01/24/2020
01/24/2020
01/29/2020
06/03/2020
03/09/2020
03/17/2020
03/26/2020
05/20/2020
05/18/2020
05/19/2020
05/18/2020
06/03/2020
07/29/2020
06/18/2020
07/29/2020
07/27/2020
10/13/2020
08/13/2020
08/28/2020
09/21/2020
08/19/2020
08/19/2020
10/13/2020
03/26/2020
02/28/2020
01/29/2021
02/18/2022

5,049.30
8,535.40
21.50
35.40
21.50
21.50
35.40

.00
10,021.50
.00

63.20
712.88
21.50
7,521.50
25,021.50
21.50
521.50
522.50
21.50
27,500.00
21.50

.00
3,022.50
22.50
57,551.50
22,50
622.50
7,800.00
22.50
22.50
397.50
22.50
22.50
1,526.50
22.50
2,397.50
22.50
21.50
21.50
22.50
27.50
742,493.08

Case 3:21-cv-00619 Document 142-3 Filed 10/14/22 Page 3 of 3 PagelD #: 3056

 
